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                 HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER



                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



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 IN RE NATIONAL PRESCRIPTION OPIATE )
 LITIGATION                                     )
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 This document relates to:                      )   MDL No. 2804
                                                )
 The County of Summit, Ohio, et al. v. Purdue )     Hon. Dan Aaron Polster
 Pharma L.P., et al., Case No. 18-op-45090      )
                                                )
 The County of Cuyahoga, Ohio, et al. v. Purdue )
 Pharma L.P., et al., Case No. 17-op-45004      )
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                         Expert Report of Gregory K. Bell, Ph.D.
                                       May 10, 2019
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            internet; only 17 percent of those who misused a prescription analgesic within the
            past year had a prescription for the products.419

    175.    In alleging that Distributors failed to meet their responsibility to report certain
            unusual or “suspicious” orders and/or to block such orders in aid of the DEA’s
            effort to prevent diversion, the Plaintiffs ignore or mischaracterize a number of
            salient issues.

            (a)      First, as discussed earlier in this report, while each individual Distributor
                     observes the size and frequency of its own orders and shipments, each
                     individual Distributor does not have full knowledge of the orders and
                     shipments of any other Distributors.

            (b)      Second, as discussed earlier in this report, other parties have access to
                     more comprehensive information that may be used to identify and prevent
                     diversion in a sustained manner. For example, through ARCOS, the DEA
                     has full information on the orders placed by and shipments to all
                     pharmacies with respect to all distributors and manufacturers. Similarly,
                     PDMPs, such as OARRS in Ohio, have access to prescription-level
                     information including the identity of the prescriber, the identity of the
                     patient, the size of each prescription, and where the prescriptions are being
                     filled. The Distributors lack the comprehensive visibility into interactions
                     between prescribers and patients, patients and pharmacies, and pharmacies
                     and suppliers (either distributors or manufacturers).

            (c)      Third, any attempt to infer diversion on the basis of the size and frequency
                     of prescription opioid orders placed by pharmacies must address the
                     significant degree of variation in pharmacy ordering that is a natural
                     consequence of the environment. Sources of variation include changes
                     over time in the overall demand for different products as a result of
                     variation in disease incidence and variation and evolution in medical

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            Manchikanti, Laxmaiah et al., “Opioid Epidemic in the United States,” Pain Physician, 15:3S,
            2012, p. ES22.


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Expert Report of Gregory K. Bell, PhD
